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                         IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

 CHARLENE HAMMACK,                               )
                                                 )
                  Plaintiff,                     )
                                                 )         Case No. 4:17-cv-00307
                                                 )
    vs.                                          )
                                                 )
 FINANCIAL BUSINESS AND                          )
 CONSUMER SOLUTIONS, INC D/B/A                   )
 FBCS INC.,                                      )
                                                 )         JURY TRIAL DEMANDED
 Serve at:                                       )
    FBCS Inc.                                    )
    330 S. Warminster Road, Suite 353            )
    Hatboro, PA 19040                            )
                                                 )
 And                                             )
                                                 )
 DOES 1-4                                        )
                                                 )
                  Defendants.                    )

                                           COMPLAINT

          Plaintiff Charlene Hammack (“Plaintiff”), through counsel, brings this Complaint against

Defendant Financial Business and Consumer Solutions, Inc. d/b/a FBCS Inc., Inc and DOES 1-4

(collectively “Defendants”) to secure redress against Defendants for unlawful collection

practices that violated the Fair Debt Collections Practices Act, 15 U.S.C. § 1692 et seq.

(“FDCPA”), and states for his Complaint:


                                  JURISDICTION AND VENUE

          1.     This Court has original jurisdiction pursuant to § 1692k(d) of the FDCPA, and 28

U.S.C. § 1331.

          2.     Venue is proper in this District because: a) Defendant’s acts and



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transactions aimed at Plaintiff occurred here; and b) Defendant transacts business in this

District.

                                             PARTIES

        3.     Plaintiff, Charlene Hammack, is a natural person residing within this District from

whom Defendant attempted to collect an alleged debt. She is a “consumer” or a “person”

affected by a violation of the FDCPA, as those terms are defined by 15 U.S.C. §§ 1692a(3),

1692d, and 1692k.

        4.     Defendant Financial Business and Consumer Solutions, Inc. d/b/a FBCS Inc. is a

Pennsylvania corporation with its principal offices at 330 S. Warminster Road, Suite 353

Hatboro, PA 19040. It does business as a debt collector in Missouri, among other places.

        5.     DOES 1-4 are principals, agents, owners, and/or entities related to or affiliated

with Defendant whose identities are currently unknown.

        6.     The debt Plaintiff allegedly owes arises out of consumer, family, and household

transactions. Specifically, the alleged debt originated from supposed purchase from the

University of Phoenix.

        7.     Defendant acts as a debt collector, as defined by § 1692a(6) of the FDCPA,

because it regularly uses the mails and/or the telephone to collect, or attempt to collect,

delinquent consumer debts.

        8.     The principal business purpose of Defendant is the collect of debts in Missouri

and elsewhere in the United States, and Defendant regularly attempts to collect debt alleged to be

due another.




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                                   FACTUAL ALLEGATIONS

       9.      On or about February 3, 2016, Defendant sent Plaintiff the letter attached as

Exhibit A.

       10.     On information and belief, Defendant’s February 3, 2016 letter was delivered to

Plaintiff via mail a matter of days after February 3, 2016

       11.     Defendant’s letter stated that Defendant was attempting to collect a debt of

$1,857.00.

       12.     Plaintiff, as a wage earner, and with a number of financial obligations, could not

afford to pay the alleged debt, even if it was valid.

       13.     Defendant’s February 3, 2016 letter invited Plaintiff to call Defendant to discuss

the alleged debt.

       14.     In its February 3, 2016 letter Defendant stated, as required by 15 U.S.C. § 1692g,

that Plaintiff had thirty (30) days from the day she received the letter to dispute the debt and

obtain validation and verification thereof.

       15.     Shortly after receiving Defendant’s February 3, 2016 letter, Plaintiff called

Defendant to gather information about the debt and Defendant’s collection activity.

       16.     Plaintiff’s call occurred within Plaintiff’s statutory dispute period pursuant to Sec.

1692g of the FDCPA, as noted in Defendant’s February 3rd letter.

       17.     During the call, Defendant demanded payment before the end of the 30-day

“validation period” permitted to consumers like Plaintiff by Section 1692g of the FDCPA.

       18.     Specifically, Defendant said to Plaintiff that Defendant’s “letter went out on the

3rd [of February 2016] so I have until the 29th” for Plaintiff to make a payment. In attempting to




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clarify, Defendant led Plaintiff to believe that Defendant can’t take a promised payment beyond

a 7-day period even if that period was within Plaintiff’s validation period.

        19.      Furthermore, while trying to coax Plaintiff into a multi-month payment

arrangement, Defendant emphasized that “we would always ask for it to be paid now” even

though Plaintiff’s validation period under Section 1692g would expire no earlier than March 3,

2016.

        20.      Defendant’s payment demand overshadowed Plaintiff’s dispute, validation, and

verification rights pursuant to Section 1692g of the FDCPA.

        21.      Through its conduct, Defendant caused Plaintiff to believe that she could not

exercise those rights or that such an exercise would not be honored and that she had to pay the

debt within her Section 1692g “validation period” for, among other things, disputing the debt or

a portion thereof.

        22.      Plaintiff never entered any agreement consenting to arbitrate disputes between

himself and Defendant or waiving his right to a trial by jury.

        23.      All of Defendant’s actions complained of herein occurred within one year of the

date of this Complaint.

        24.      Defendant’s conduct has caused Plaintiff to suffer damages including but not

limited to the loss of time incurred by Plaintiff as well as attorneys’ fees paid for advice regarding

her situation.

        25.      Defendant’s conduct has caused Plaintiff to suffer damages including and as a

direct consequence of the Defendant's acts, business practices, and conduct, Plaintiff also has

suffered shame, humiliation, anger, anxiety, emotional distress, fear, frustration, and

embarrassment.




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       26.      Congress has found that “[a]busive debt collection practices contribute to the

number of personal bankruptcies, to marital instability, to the loss of jobs, and to invasions of

individual privacy.” 15 U.S.C. § 1692(a).

       27.      Specifically, Section 1692g dictates that “[a]ny collection activities and

communication during the 30-day period [i.e., the “validation period”] may not overshadow or be

inconsistent with the disclosure of the consumer’s right to dispute the debt or request the name and

address of the original creditor.” 15 U.S.C. § 1692g(b). During 2006, Congress amended 15

U.S.C. § 1692g to expressly prohibit overshadowing “collection activities,” such as statements by

debt collectors to consumer via telephone during the validation period.

       28.      Here, Plaintiff suffered an injury-in-fact in at least one of the manners contemplated

by Congress when it passed the FDCPA because of Defendant’s conduct.

       29.      Defendant’s collection communications are to be interpreted under the

“unsophisticated consumer” standard. See, e.g., Duffy v. Landberg, 215 F.3d 871, 874 (8th Cir.

2000) (citing Gammon v. GC Services, Ltd. Partnership, 27 F.3d 1254, 1257 (7th Cir. 1994)).

                           COUNT I: VIOLATION OF THE FDCPA

       30.      Plaintiff re-alleges and incorporates by reference all of the above paragraphs.

       31.      In its attempts to collect the alleged debt from Plaintiff, Defendant violated the

FDCPA, 15 U.S.C. § 1692 et. seq, including but not limited to the following:

             a. Overshadowing Plaintiff dispute, validation, and verification rights by 15 U.S.C. §
                1692g; and

             b. Using oppressive, deceptive, and unfair collection conduct in the collection of a
                debt, 15 U.S.C. § 1692d-f.

       32.      Each of Defendant’s violations of the FDCPA renders it liable for statutory

damages, costs, and reasonable attorneys’ fees. See 15 U.S.C. § 1692k.



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       WHEREFORE, Plaintiff respectfully requests a judgment be entered by this Court in

favor of Plaintiff, and against Defendant, finding that Defendant violated the FDCPA and

awarding Plaintiff relief, including:

       a. statutory damages of $1,000;

       b. actual damages;

       c. prejudgment and/or post-judgment interest as permitted by law;

       d. costs and reasonable attorneys’ fees; and

       e. Such other or further relief in Plaintiff’s favor as the Court deems just and proper.


                                        JURY DEMAND

       Plaintiffs demand a trial by jury on all Counts so triable.


DATED: January 27, 2017                               Respectfully Submitted,



                                              By:     /s/ Nathan D. Sturycz
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